                                         UNITED STATES DISTRICT COURT
                      Case 2:07-cr-00485-JAM
                                      EASTERN Document  15CALIFORNIA
                                              DISTRICT OF   Filed 10/30/07 Page 1 of 1

UNITED STATES OF AMERICA                                 )
                                                         )       CR S. 07-0485-DLJ
           v.                                            )
JESUS MANUEL MEDINA-CRUZ, et al.                         )
                                                         )

                                APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee: JESUS MANUEL MEDINA-CRUZ
Detained at (custodian): OREGON STATE PENITENTIARY
Detainee is:             a.) (X) charged in this district by: (X) Indictment () Information () Complaint
                                charging detainee with: Title 21, United States Code, Section(s) 841(a)(1) and 846 -
                              Conspire to Distribute Methamphetamine; Title 21, United States Code, Section(s)
                             841(a)(1) - Distribution of Methamphetamine; Title 21, United States Code, Section(s)
                             8419a)(1) - Possession with Intent to Distribute Methamphetamine
                or       b.) () a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)   () return to the custody of detaining facility upon termination of proceedings
                 or       b.)   (X) be retained in federal custody until final disposition of federal charges, as a sentence
                                is currently being served at the detaining facility

        Appearance is necessary FORTHWITH in the Eastern District of California.

                                Signature:                       /s/Mary L. Grad
                                Printed Name & Phone No:         AUSA MARY L. GRAD, (916) 554-2963
                                Attorney of Record for:          United States of America

                                            WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: 10/29/2007

                                                    /s/ D. Lowell Jensen
                                                    United States District Judge
_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):         _____________________________________________                      Male
Booking or CDC #:               OR16952774                                                         DOB:1985
Facility Address:               OREGON STATE PENITENTIARY, OSP MAIN, 2605                          Race:
                                STATE STREET, SALEM, OR 97310-0505                                 FBI #:
Facility Phone:                 (503)378-2453
Currently Incarcerated For:     NARCOTICS

_________________________________________________________________________________________________
                                                  RETURN OF SERVICE

Executed on      ____________________________                    By: ___________________________________________________
                                                                     (Signature)
